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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                                                             CASE NO.: 20-10699-BKC-PDR
                                                                          PROCEEDING UNDER CHAPTER 13

IN RE:

HECTOR G VELIZ
XXX-XX-7492
MARIA E VELIZ
XXX-XX-2745

_____________________________/
DEBTORS

                        TRUSTEE'S MOTION TO DISMISS AND CERTIFICATE OF
                        SERVICE OF COURT GENERATED NOTICE OF HEARING

    COMES NOW, Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced bankruptcy
case ("Trustee"), and files her Motion to Dismiss pursuant to 11 U.S.C. §1307(c) for the reason(s) set forth
below:

   1.    A NOTICE OF PAYMENT CHANGE WAS FILED BY US BANK (CLAIM #4)

     WHEREFORE, your movant recommends it is in the best interest of the creditors and the estate that
this petition under Chapter 13 be dismissed.

   I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Dismiss and Certificate of Service of Court Generated Notice of Hearing was served, via U .S. first class
mail, certified mail and/or CM/ECF, upon the parties listed on the attached service list this 6th day of July,
2022.

                                                                    /s/ Robin R. Weiner
                                                                    _____________________________________
                                                                    ROBIN R. WEINER, ESQUIRE
                                                                    STANDING CHAPTER 13 TRUSTEE
                                                                    P.O. BOX 559007
                                                                    FORT LAUDERDALE, FL 33355-9007
                                                                    TELEPHONE: 954-382-2001
                                                                    FLORIDA BAR NO.: 861154
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                                                                              MOTION TO DISMISS
                                                                       CASE NO.: 20-10699-BKC-PDR

                                      SERVICE LIST

COPIES FURNISHED TO:

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                                                                               MOTION TO DISMISS
                                                                        CASE NO.: 20-10699-BKC-PDR

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